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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 MATTHEW STEPHEN SANTORO,                              §
                                                       §
        Claimant,                                      §
 v.                                                    §    CIVIL ACTION NO. 4:18-CV-660
                                                       §
 COUNTY OF COLLIN, TEXAS,                              §
 PLANO INDEPENDENT                                     §
 SCHOOL DISTRICT, BRIAN                                §
 BINGGELI,380th JUDICIAL                               §
 DISTRICT, JUDGE BENJAMIN                              §
 N. SMITH, COLLIN COUNTY                               §
 CONSTABLE’S OFFICE, SHANE                             §
 WILLIAMS, COLLIN CENTRAL                              §
 APPRAISAL DISTRICT,                                   §
 EUGENE “BO” DAFFIN,                                   §
 COLLIN COUNTY                                         §
 TAX ASSESSOR/COLLECTOR,                               §
 KENNETH L. MAUN, COLLIN                               §
 COUNTY CCD, NEIL MATKIN,                              §
 DAVID McCALL.                                         §
                                                       §
        Defendants.                                    §

         PLANO INDEPENDENT SCHOOL DISTRICT’S, BRIAN BINGGELI’S;
      COLLIN COLLEGE’S, NEIL MATKIN’S AND DAVID McCALL’S OBJECTION
          TO PLAINTIFF’S JUDICIAL NOTICE OF ADJUDICATIVE FACTS

        Defendants Plano Independent School District, Brian Binggeli, Collin College, Neil Matkin

 and David McCall file the following objection to Plaintiff’s Judicial Notice of Adjudicative Facts

 [Dkt. 57].

        1.      Plaintiff’s filing is not a pleading, motion or response but, rather, is a “Notice” - -

 notice of what, these Defendants are unsure. However, to the extent the “Notice” is construed to be

 some sort of response to Defendants’ re-urged motion to dismiss filed November 28, 2018 [Dkt. 48],

 Defendants ask the Court to strike the “Notice” because it is untimely and filed without leave.


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         2.     However, even if the “Notice” is not striken, it should nevertheless still be ignored

 because it does nothing to address the variety of reasons for dismissal of this suit that are set forth

 in all the defendants’ motions to dismiss, including these Defendants’ motion to dismiss [Dkt. 48].

         3.     Further, for all the reasons stated in the Judicial Defendants’ Objection to “Plaintiff’s

 Notice of Adjudicative Facts” [Dkt. 58], which is incorporated and adopted herein, the international

 treaty which is the subject of Plaintiff’s “Notice” is not enforceable by the federal courts and,

 therefore, adds no value to the (lack of) merit of Plaintiff’s lawsuit.

         4.     For these reasons, the Court should strike and/or ignore Plaintiff’s “Notice” [Dkt.

 57] and dismiss this lawsuit for all of the reasons stated in these Defendants’ motion to dismiss [Dkt.

 48], which motion is unopposed in light of the absence of a timely response. See Local Rule CV-

 7(d).


                                                Respectfully submitted,

                                                ABERNATHY, ROEDER, BOYD
                                                & HULLETT, P.C.

                                                /s/ Charles J. Crawford
                                                Charles J. Crawford
                                                State Bar No. 05018900
                                                Richard M. Abernathy
                                                State Bar No. 00809500
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                                                Collin College, Neil Matkin, and David McCall
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                                 CERTIFICATE OF SERVICE

        I certify that on December 21, 2018, a true and correct copy of foregoing was served on all
 counsel through the Court’s ECF system and Plaintiff, pro se, by certified mail no. 9414 7266 9904
 2969 7786 81 at 441 Shiloh Drive, Lucas, Texas 75002.

                                                     /s/Charles J. Crawford
                                                     Charles J. Crawford




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